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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP,                              )
                                              )
               Plaintiff,                     )
                                              )
               v.                             ) Civil Action No. 1:21-cv-2769 (TSC)
                                              )
BENNIE G. THOMPSON, et al.,                   )
                                              )
               Defendants.                    )
                                              )

 DEFENDANTS’ UNOPPOSED MOTION FOR AN EXTENSION OF TIME IN WHICH
             TO FILE THEIR ANSWER TO THE COMPLAINT

       Defendants, with the consent of Plaintiff, hereby seek an extension of time in which to

answer the Complaint in this case, until January 21, 2022. In the absence of an enlargement, the

Defendants’ answers would be due December 20, 2021.

       Defendants’ motion is supported by good cause. The parties have discussed the possibility

that Plaintiff may move to amend his complaint, to incorporate tranches of documents not

referenced in the initial complaint. It would conserve time and resources to postpone the answers

until an amended complaint, if any, is filed. Further, with the upcoming holiday season and the

press of business, Defendants require additional time to complete their answers and obtain their

respective clients’ consent to file. No party will suffer any prejudice as a result of the requested

extension of time, nor will the enlargement affect ongoing proceedings in the appellate courts.

       Accordingly, Defendants request that the Court grant this unopposed motion for an

extension of time, until January 21, 2022, in which to file their answers.

Dated: Dec. 15, 2021                          Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General
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